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3                               UNITED STATES DISTRICT COURT

4                                     DISTRICT OF NEVADA

5                                                 ***

6     CALVARY CHAPEL DAYTON VALLEY,                     Case No. 3:20-cv-00303-MMD-CLB

7                                    Plaintiff,                       ORDER
             v.
8
      STEVE SISOLAK, in his official capacity
9     as Governor of Nevada, et al.,

10                               Defendants.

11

12          “Emergency motions should be rare.” LR 7-4(b). Yet Plaintiff filed its Emergency

13   Motion for Temporary Restraining Order and Preliminary Injunction (“Motion”) around

14   3:30 p.m. on Thursday, May 28, 2020, asking the Court to enjoin enforcement of state

15   emergency directives imposed in response to the novel coronavirus SARS-CoV-2

16   (“COVID-19”), to allow Plaintiff to resume in-person worship services by Sunday, May 31,

17   2020. (ECF No. 9.) Plaintiff explained that May 31 is Pentecost Sunday, the celebration

18   that “commemorates the descent of the Holy Spirit upon the Apostles and other disciples

19   following the Crucifixion, Resurrection and Ascension of Jesus Christ . . . and it marks the

20   beginning of the Christian church’s mission to the world.” (ECF No. 9-2 at 1-2.) The Court

21   has no doubt as to the significance of Pentecost Sunday to Plaintiff and its members’

22   sincerely held religious convictions. However, Plaintiff has not demonstrated the diligence

23   required to warrant emergency relief under the circumstances presented here.

24          Plaintiff initiated this action on May 22, 2020 (ECF No. 1), but waited until May 28,

25   2020 to file the Motion asking for an emergency ruling, essentially giving the Court one

26   business day to allow for briefing, a hearing,1 and a ruling. Further, the restrictions that

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            1The   Motion asks for oral argument. (ECF No. 9 at 1.)
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1    Plaintiff challenges were imposed on April 8, 2020, when Nevada’s Governor prohibited

2    places of worship from holding in-person religious services “where ten or more persons

3    may gather.”2 (ECF No. 8-10 at 4 (Directive 103, § 4).) To the extent Plaintiff was not

4    certain how or when this restriction would be mitigated under the Governor’s phased

5    reopening plan, Plaintiff still filed this action on May 22, 2020, and should have—at a

6    minimum—sought the relief sought in the Motion then. Waiting until one business day

7    before Pentecost Sunday to ask for emergency relief is simply unreasonable. For this

8    reason, the Court declines to rule on the Motion on an emergency basis by May 31, 2020.

9    However, the Court will direct expedited briefing on the Motion.

10          It is therefore ordered that the request in Plaintiff’s Motion for an emergency ruling

11   by May 31, 2020 is denied.

12          It is further ordered that Defendants have until June 2, 2020 to file their response

13   to the Motion, and Plaintiff has until June 3, 2020 to file their reply. A telephonic hearing

14   will likely be scheduled for June 4, 2020, to the extent the Court determines a hearing is

15   necessary.

16          DATED THIS 29th day of May 2020.

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                                               MIRANDA M. DU
19                                             CHIEF UNITED STATES DISTRICT JUDGE

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28          2The gathering limit increases to up to 50 people on May 29, 2020 under Phase
     Two of the state’s reopening plan. (ECF No. 8 at 12.)
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